Case 3:22-cr-00084-RGJ Document 5 Filed 08/03/22 Page 1 of 2 PageID #: 12




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


UNITED STATES OF AMERICA                                                                 PLAINTIFF


VS.                                                  CRIMINAL ACTION NO.:;,: 2-2-cQ:2:J-{~


BRETT HANKISON                                                                        DEFENDANT


                             MOTION TO SEAL INDICTMENT

        Comes the United States of America, by counsel, Michael J. Songer and Anna Gotfryd,

Trial Attorneys, United States Department of Justice, Civil Rights Division, and moves the Court

pursuant to Rule 6(e), Federal Rules of Criminal Procedure, to order and direct that the

indictment returned by the Federal Grand Jury charging the above-named defendant with

violations of Title 18, United States Code, Section 242, be kept secret until the defendant is in

custody, or has given bail, or the warrant for arrest is returned unexecuted, and to further order

that, until the defendant is in custody, or has given bail, or the warrant for arrest is returned

unexecuted, no person disclose the return of the indictment, or any warrant or order issued

pursuant thereto, except as necessary for the issuance and execution of warrant for the arrest of

the defendant.



                                                       Respectfully submitted,

                                                       KRISTEN CLARKE
                                                       ASSIST ANT ATTORNEY GENERAL
                                                       CIVIL RIGHTS DIVISION

                                                       MICHAEL J. SONGER
                                                       ANNA GOTFRYD
Case 3:22-cr-00084-RGJ Document 5 Filed 08/03/22 Page 2 of 2 PageID #: 13




                                       TRIAL ATTORNEYS
                                       CIVIL RIGHTS DIVISION


                                       Trial Attorney Michael J. Songer

                                       ATTORNEYS FOR THE UNITED
                                       STATES, ACTING UNDER AUTHORITY
                                       CONFERRED BY28 U.S.C. § 515




                                                           1l
